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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number or known)      --------------- Chapter                                      11
                                                                                                                        [J Check if this an
                                                                                                                           amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non�lndividuals, is available.


1.    Debtor's name               Reagor-Dykes Auto Company, LP

2.    All other names debtor
      used in the last 8 years    OBA Reagor Dykes Ford Lincoln
      Include any assumed         OBA RDAC Accessory Shop
      names, trade names and      OBA Prime Capital Auto Lease - Plainview
      doing business as names

 3.   Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  1215Ave.J
                                  Lubbock, TX 79401
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Lubbock                                                        Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 808 N. IH 27 Plainview TX 79072
                                                                                                 Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor              I   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  W   Partnersh•p (excluding LLP)
                                  [: Other. Specify:




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Debtor    Reagor-Dykes Auto Company, LP                                                                  Case number (1tknown) ________________
          Name



7.   Describe debtor's business        A Check one:
                                       [7 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       [7 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       [J Railroad (as defined in 11 U.S.C. § 101(44))
                                       [J Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       [7 Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                       [: Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                       Iv:   None of the above

                                       B. Check all that apply
                                       I Tax-exempt entity (as described in 26 U.S.C. §501)
                                       I Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §B0a-3)
                                       [7 Investment advisor (as defined ,n 15 U.S.C. §80b-2(a)(11 ))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor_
                                          See http://www.uscourts.gov/four-digit-nationa I-association-n aics-codes.
                                                  4411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                       f:    Chapter 7
     debtor filing?
                                       n     Chapter 9
                                       W;    Chapter 11. Check all that apply
                                                               I    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that)
                                                               I    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the debtor is a small
                                                                    business debtor, attach the most recent balance sheet, statement of operations. cash-flow
                                                                    statement. and federal income tax return or if all of these documents do not exist, follow the
                                                                    procedure in 11 U.S.C. § 1116(1)(6).
                                                               !,   A plan is being filed with this petition.
                                                               I    Acceptances of the plan were solicited prepetition from one or more classes of creditors, In
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                               I    The debtor is required to file periodic reports (for example, 10K and 100) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934 File the
                                                                    attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A) with this form.
                                                               I    The debtor IS a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                       n     Chapter 12



9.   Were prior bankruptcy             [iZ! No.
     cases filed by or against
     the debtor within the last 8      []Yes.
     years?
     If more than 2 cases, attach a
     separate list                                  District   ---------- When                        -------- Case number
                                                   District    __________ When                        ________ Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                       n     No

    business partner or an             [i7 Yes.
    affiliate of the debtor?
     List all cases, If more than 1,
                                                               See Attachment
     attach a separate list                        Debtor
                                                               ------------------- Relationship
                                                    District   __________ When -------- Case number, if known




 Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor    Reagor-Dykes Auto Company, LP
          Name
                                                                                                   Case number (1f known)
                                                                                                                            ----------------

11. Why is the case filed in    Check all that apply:
    this district?
                                Ii?]     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                r,       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      lit No
    have possession of any
    real property or personal   L Yes.       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                            L It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                            c· It needs to be physically secured or protected from the weather.
                                            l: It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example.
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            I Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             ls the property insured?
                                             I No
                                            r   Yes.    Insurance agency
                                                        Contact name
                                                        Phone



          Statistical and administrative information

13. Debtor's estimation of                Check one
    available funds
                                          [\/ Funds will be available for distribution to unsecured creditors.
                                          l After any administrative expenses are paid, no funds will be available to unsecured creditors.
14. Estimated number of         lit 1-49                                          11,000-5,000                                I 25,001-50,000
    creditors                   I 50-99                                           I5001-10,000                                11 50,001-100,000
                                1100-199                                          110.001-25,ooo                              I More than100,000
                                I 200-999
15. Estimated Assets            [j $0 - $50,000                                   I $1,000,001 -$10 million                   C $500,000,001 - $1 billion
                                1 $50,001 - $100.000                              Iv' $10,000,001 - $50 million               I $1,000,000,001 - $10 billion
                                1 s100,001 - s5oo,ooo                             I $50,000,001 - $100 million                I $10,000,000,001 - $50 billion
                                1· $500,001 - $1 million                          I $100,000,001 - $500 million               C More than $50 billion
16.   Estimated liabilities     1 so - s5o,ooo                                    [-:- $1,000,001 -$10 million                LJ $500,000,001 - $1 billion
                                1 $50,001 - s100.ooo                              I? $10,000,001 - $50 million                C $1,000,000,001 -$10 billion
                                r::
                                  $100,001 - $500,000                             C $50,000,001 - $100 million                D $10,000,000,001 - $50 billion
                                I $500,001 - $1 million                           I $100,000,001 - $500 million               [l More than $50 billion




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Debtor    Reagor-Dykes Auto Company, LP
          Name
                                                                                                    Case number (11 known)
                                                                                                                             ---------------
          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified ln this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct

                                  l declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       08/01/2018
                                                   MM/ DD /YYYY


                                                                                                           Bart Reagor
                                                                                                           Printed name




                             X                                                                             Rick Dykes
                                                                                                           Printed name


                                  Title   Managing Member of Reagor Dykes II,
                                          LLC, General Partner




                              X                                                                             Date
                                                                                                                    08/01/2018
18. Signature of attorney
                                                                                                                    MM /DD /YYYY

                                  David R. Langston 11923800
                                  Printed name

                                  Mullin Hoard & Brown, L.L.P.
                                  Firm name

                                  P.O. Box 2585
                                  Lubbock TX 79408
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      806-765-7491                  Email address      drl@mhba.com


                                  11923800 TX
                                  Bar number and State




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Debtor     Reagor-Dykes Auto Company, LP
           Name
                                                                                             Case number (d known)
                                                                                                                     --------------

Fill In this Information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (1f known)     ---------------- Chapter                                   11
                                                                                                                      r:;   Check if this an
                                                                                                                            amended filing



                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Reagor Dykes Amarillo, LP                                               Relationship to you

           Northern District of Texas, Lubbock
District   Division                            When                                Case number, if known
Debtor     Reagor Dykes Imports                                                    Relationship to you

           Northern District of Texas, Lubbock
Distnct    Division                                    When                        Case number, if known
Debtor     Reagor Dykes Motors, LP                                                 Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, if known

Debtor     Reagor Dykes Plainview, LP                                              Relationship to you

           Northern District of Texas, Lubbock
District   Division                            When                                Case number, if known

Debtor     Reagor-Dykes Floydada, LP                                               Relationship to you

           Northern District of Texas, Lubbock
District   Division                                    When                        Case number, if known




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